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   EXHIBIT A
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                   IN THE UNITED STATES COURT FOR THE
                    MIDDLE DISTRICT OF PENNSYLVANIA
_____________________________________________________________________________

James Walsh,                             :
                     Plaintiff.          :
                                         :      CIVIL ACTION - LAW
               v.                        :
                                         :      No. 4:24-cv-01878
Luzerne County, Luzerne County Board     :
of Elections, and Luzerne County Board   :      Chief Judge Matthew W. Brann
of Elections and Registration,           :
                      Defendants.        :


                                      Exhibit “A”
                          (Supplemental Affidavit of Emily Cook)
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